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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 15-cv-02441-LTB

AWEYS M. MUHUDIN,

      Plaintiff,

v.

FRED WEGENER, Sheriff,
MONTE GORE, Undersheriff, and
DAN MULDOON, Capt., Jail Administrator,

      Defendants.


                                      JUDGMENT


      Pursuant to and in accordance with the Order of Dismissal entered by Lewis T.

Babcock, Senior District Judge, on March 9, 2016, it is hereby

      ORDERED that Judgment is entered in favor of Defendants and against Plaintiff.

      DATED at Denver, Colorado, this 9 day of March, 2016.

                                        FOR THE COURT,

                                        JEFFREY P. COLWELL, Clerk

                                        By: s/ A. García Gallegos
                                        Deputy Clerk
